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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


     IN RE: ZANTAC (RANITIDINE)               MDL NO. 20-MD-2924
     PRODUCTS LIABILITY
     LITIGATION                               JUDGE ROBIN L. ROSENBERG
                                              MAGISTRATE JUDGE BRUCE E. REINHART


    THIS DOCUMENT RELATES TO:

    Jonathon Grubb and Doris Dennis                  3:23-cv-22911

                                        NOTICE OF APPEAL

          Plaintiff in the above-referenced separate civil action through the undersigned counsel,

   appeals to the United States Court of Appeals for the Eleventh Circuit from the September 26,

   2023, entry of Final Judgement in favor of all Defendants (D.E. 6974), as well as all prior adverse

   orders, which have now merged into the judgment.

          Plaintiff’s cases, not originally included on D.E. 6974, filed an Unopposed Motion for

   Judgment on October 18, 2023 (D.E. 7004). On October 19, 2023, the Court entered a paperless

   Order granting Plaintiff’s Motion and deemed Plaintiff’s case as included in D.E. 6974. Out of an

   abundance of caution, Plaintiff now files this Notice of Appeal.

           Because the same orders and judgments ended the separate case listed above, a joint notice

   of appeal is appropriate under Federal Rule of Appellate Procedure 3(b).


   Dated: October 20, 2023

                                                Respectfully Submitted,



                                                                       /s/ T. Roe Frazer II
                                                                       T. Roe Frazer II
                                                                       Thomas Roe Frazer III
                                                                       FRAZER PLC
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                                   CERTIFICATE OF SERVICE


          I hereby certify that on October 20, 2023, I electronically filed the foregoing document with

   the Clerk of the Court using the CM/ECF system and that the foregoing document is being served

   on all counsel of record or parties registered to receive CM/ECF electronic filings.



                                                                         /s/ T. Roe Frazer III




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